Case 8-19-71382-ast

UNITED STATES BANKRUPTCY COURT
EASTERN DlSTRlCT OF NEW YORK

 

 

 

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In re: cf HAF’rt/E 7 /“Jz”"/ § Z§i§l §~<§.~‘:§p§ ~',l l:;§ §§ §§
Cliapter
él€ a [.’~; §§ ida/j /{ Debtor(s)
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NOTICE OF MOTlON

PLEASE TAKE NOTICE that upon the annexed application of

 

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granting relief as l`ollows:

 

Df$*m [V' § §~)'~ A/ £.'»/ d /;{)P f 6 fly 7

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' Ca'segNO, S"“ l{'z/ 7/',?£ 2,F

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, a hearing will be held before the Hon.
i\[- /‘l »/ §§ //¢€l//S/, Bankruptcy Judge, to consider the motion for an Order

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Date and time of hearing: H/ fY//(jl @ /b/' 37 ‘3) /9/""7
Location: U.S. Bankruptcy Court l
290 Federal Plaza
Central Islip, New York 11722
Courtroom # 'll“)l) , Floor
Dated; 3 /47// § i!/w 143 Wl‘(
Signature / _ y
Print name: {€»d' 5 54 /"';¢3 /7
Address: VZ( § /,?F) mg [’_»/'~" 6 g S`f'/&€@ '/
a c'~: /)/,11 5//'0 ~£ , /\) ‘7 // s 72_
Phone: S'") é,> j L':>‘L) 1 77 63
Email; L}/zi`V C;¢,v/.;°§( y ¢?» £/157/);;'£~_ c¢',-,»w

 

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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. _{~ / } <"(’.,)/
CaseNo. 3 } ? 7 j

Chapter ,,

 

@‘LN q l A m Debtor(s) X

APPLICATIoN IN sUPPoRT oF MoTIoN
To THE HoN. ;]) ne 64 n Lf’ r/ 5 -» 1264 s~)/, Bankruptcy Judge

I, é c’/ v 354 Ur'! i/l , , make this application in

support of my motion for the following relief:
p}-;,Y,;, §§ 6 line re M’_ `7 Fz;'L.//N C:/

 

 

ln support of this motion, l hereby allege as follows:

 

D w ~e /rw § l/?f/YL w s ‘7’//w f 35 />w» <f’ W;/z<: ,~3)
'z‘“l> sw F<M¢ a fla < ii /r> @ ga /,F

 

FC’: /‘/ §JFZ/»</ fl c‘d o f,';l ,v ';/
F¢/,@/;'Z,Q,@Ze /V//v!>§ 73/ %0~¢" ,/ {/? ¢/,w~/l" § /§7 /.,1/1//<' pacng ,¢_»7‘ §
L 0 ¢Y/ ci‘,¢’ .¢ va jr @'Js,a§ o esq f

 

 

 

 

 

Wherefore, Applicant prays for an Order granting the relief requested

Dated:_j_h_Q_S/_____ /Q/WL/)? H M

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

 

 

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In re: €)/N”fe£ 7
, CaseNo. g'“!(?/ 7/)7§2/
Chapter 7
Gi;»z; /2(“@ /J /s W` Debtor(s)
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CERTIFICATE OF SERVICE
Tlie undersigned certifies that on 3~)'7// 7 , a copy of the annexed l\/lotion Was

 

served by depositing same, enclosed in a properly addressed postage-paid envelope, in an official
depository under the exclusive care and custody of the United States Postal Service Within the
State of NeW York, upon [below specify the name and mailing address of each party served/z

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Dated: 5 zsz 2 ix 'LJCL»'€:/

Sign'ature

 

